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                                  United States District Court
                                   Western District of Texas
                                       Austin Division


 United States of America,
   Plaintiff,
          v.
 Greg Abbott, in his capacity as Governor                  No. 1:23-cv-00853-DAE
 of the State of Texas, and the State of
 Texas,
   Defendants.

  [Proposed] Order Granting Motion to Place Case on Jury
               Docket and for Trial by Jury


          Before the Court is Defendants’ Opposed Motion to Place Case on Jury Docket and for

Trial by Jury. After considering the motion, record, and relevant authorities, the Court hereby

GRANTS the motion and ORDERS Civil Action No. 1:23-cv-00853 DAE be placed on the jury

docket.

          The case is set for trial by jury on ________________________________.


          SIGNED on this the ________ day of _________________, 2024.



                                            __________________________________
                                            Hon. David Alan Ezra
                                            United States District Judge
